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                  UNITED STATES DISTRICT COURT
                   DISTRICT OF MASSACHUSETTS
UNITED STATES OF AMERICA        )
                                )
v.                              )                    Criminal No. 15-10153-WGY
                                )
NICHOLAS ALEXANDER ROVINSKI, )
a/k/a Nuh Amriki, Nuh Andalusi, )
Defendant.                      )

                              NOTICE OF APPEAL

      Notice is hereby given that the United States of America (the prosecution in

the above-captioned case) hereby appeals to the United States Court of Appeals for

the First Circuit from the district court’s (Young, J.): (1) August 11, 2020 Electronic

Order granting the defendant’s motion for compassionate release pursuant to 18

U.S.C. § 3582 (entered on the docket on August 11, 2020) (Doc. No. 470); (2)

August 13, 2020 Amended Judgment in a Criminal Case (entered on the docket on

August 13, 2020) (Doc. No. 475); and (3) August 16, 2020 Electronic Order denying

the government’s motion for reconsideration (entered on the docket on August 16,

2020) (Doc. No. 477).

                                              Respectfully submitted,

                                              ANDREW E. LELLING
                                              United States Attorney

                                        By:   /s/ B. Stephanie Siegmann
                                              B. STEPHANIE SIEGMANN
                                              Assistant U.S. Attorney
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                               Certificate of Service

       I hereby certify that on September 10, 2020, this Notice of Appeal filed
through the ECF system will be sent electronically to the registered participants as
identified on the Notice of Electronic Filing (NEF) and paper copies will be sent to
those indicated as non-registered participants.

                                             /s/ B. Stephanie Siegmann
                                             B. STEPHANIE SIEGMANN
                                             Assistant U.S. Attorney




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